Case 2:17-mj-03156-DUTY Document 2 Filed 12/14/17 Page 1 of 4 Page |D #:84

1 §

AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

 

Return
Case No. .' Date and time warrant executed.' Copy of warrant and inventon left with .‘
2117-MJ-3156 "LIL§ `{2013/ }`D{( \/ Q,(>iOLF '(' H’zcé'¢,/c\\

 

 

 

In.ventory made in the presence of :

S)A' Z`¢\-r/L\ ser u\ Gp-/~

 

Inventory of the property taken and name of any person(s) seized¢) ‘

[Please provide a description that Would be sufficient to demonstrate that the items Seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as Well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, Specify the
number of pages to the attachment and any case number appearing thereon.]

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Certification (by officer present during the execution of the Warrant)

 

I declare under penalty of peijury that ] ain an ojj‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Ojice.

Dgt@; (`zt 20th PW

Executing 0/7icer ’s signature

‘?Ai,(,\ ¢./~:) O\;LM/ § P'd Ct" ¢v( /L>[ ~~’*C('

Printed name and iitle d

 

 

 

AUSA: Katherine A. Rykken, x. 3659

 

Case 2:17-mj-03156-DUTY Document 2 Filed 12/14/17 Page 2 of 4 Page |D #:85

 

DEPARTMENT OF THE lNTERlOR
U.S. FlSH AND WlLDLlFE SERVlCE

PR@PERTY RECEIPT

 

 

 

 

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officer at the above sa ei
inventory was made in the presence of:

   
 

OFFICE
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' ’ transferred fromi) the undersig

 

dte, time and place, and that the said WlTNESS:

 

 

l here`by acknowledge receipt of a copy of this inventory and that it
is true and complete:

erNATURE: U "

 

 

 

FORM 3-155 (9/81)

 

Case 2:17-mj-03156-DUTY Document 2

Filed"izi'/'l¢i/i?" F;agé '3`461"4 Pégéib #:86

 

DEPARTMENT OF THE INTERIOR

U.S. FlSH AND WlLDbl;F,SER-\Ll£§\
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PROPERW aEcElP'r

 

 

 

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officer at the abov ated date, time and place, and that the said
inventory was made in the presence of:

l hereby certify that t‘ , pvc is a correct and complete inventory . A~ '
of items (received. eiz'ed ) (transferred from) the undersigned C ’

 

orrlcE .w~,

 

 

I hereby acknowledge receipt of a copy of this inventory and that it

 

is true and complete:

 

sIGN`)iTURF.:

 

 

FORM 3<155 (9/81)

 

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§ ORiGlNAL

AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev, 01/2013)

UNITED STATES DisTRiCT CoURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched
or identiyjl the person by name and address)

The Residence at 215 North Commonwea|th Avenue,
Apartment C, Los Ange|es, CA 90004

Case No. 2517-l\/|J-3156

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Centrai District of Ca|ifornia
(identi]j’ the person or describe the property to be searched and give its location)!
See Attachment A

The person or property to be searched, described above, is believed to conceal (identi/j) the person or describe the
property to be seizeaQZ
See Attachment B

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such affidavit is incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this Wairant on or before 14 days from the date of its issuance
(not to exceed 14 days)

d in the daytime 6 :00 a.m. to 10 p.m. ij at any time in the day or night as l find reasonable cause has been
established '

Unless delayed notice is authorized below, you must give a copy of the Warrant and a receipt for the property
taken to the person from Whom, or from Whose premises, the property Was taken, or leave the copy and receipt at the
place Where the property Was taken.

The officer executing this Warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this Warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing With the Clerk'S Oftice.

(name)

ij l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this Warrant to delay notice to the person Who, or Wliose property, Will be
Seal‘Ch€d 0r SClZ€d (check the appropriate box) g for dayS (not to exceed 30).

ij until, the facts justifying, the later specific date of

t ¢//"\ §
Date and time issued: il“‘l,?>” id @ 35%@ mem \W@~%%

Judge ’s signature

City and state: L-@§ f:}i‘\"i:‘§(j@§ Q’]&\ @ t£\ @lcV@./(_\

Printed name and title

AUSA: Katherine A. Rykken, x. 3659

 

